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                   7   Medical Foundation

                   8

                   9                              UNITED STATES DISTRICT COURT
               10                               NORTHERN DISTRICT OF CALIFORNIA
               11                                          SAN JOSE DIVISION
               12

               13      UNITED STATES OF AMERICA and THE                 CASE NO. 18-CV-02067-LHK
                       STATE OF CALIFORNIA., ex rel. Judy
               14      Jones, an individual,                            DEFENDANTS’ RULE 7.1
                                                                        DISCLOSURE STATEMENT
               15                            Relator,
                                                                        Hon. Lucy H. Koh
               16                     v.
               17      SUTTER HEALTH, a corporation; SUTTER
                       BAY MEDICAL FOUNDATION, a
               18      corporation; PALO ALTO MEDICAL
                       FOUNDATION, a corporation, PALO ALTO
               19      FOUNDATION MEDICAL GROUP, INC., a
                       corporation; ROY HONG, M.D., aka ROY W.
               20      HONG, an individual; and DOES 1-10,
               21                            Defendants.
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                                                                                    DEFENDANTS’ RULE 7.1 DISCLOSURE STATEMENT
ATTORNEYS AT LAW
                                                                                                  Case No. 18-CV-02067-LHK
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                   1          Pursuant to Federal Rule of Civil Procedure 7.1, Defendants disclose the following:

                   2      •   Defendant Sutter Health is a California nonprofit public benefit corporation. Sutter

                   3          Health is the parent corporation of various affiliated entities. Sutter Health does not have

                   4          a parent corporation. No publicly held corporation owns more than 10% of Sutter

                   5          Health’s stock.

                   6      •   Defendant Sutter Bay Medical Foundation is a California nonprofit public benefit

                   7          corporation. Sutter Health is the parent corporation of Sutter Bay Medical Foundation.

                   8          No publicly held corporation owns more than 10% of Sutter Bay Medical Foundation’s

                   9          stock.

               10         •   Defendant Palo Alto Medical Foundation for Health Care, Research and Education (dba

               11             Palo Alto Medical Foundation) is a California nonprofit public benefit corporation.

               12             Sutter Health is the parent corporation of Palo Alto Medical Foundation. No publicly

               13             held corporation owns more than 10% of Palo Alto Medical Foundation’s stock.

               14

               15      DATED: February 12, 2020                     Respectfully submitted,

               16                                                   LATHAM & WATKINS LLP

               17
                                                                    By: /s/ Jason M. Ohta
               18                                                           Jason M. Ohta
                                                                            Katherine A. Lauer
               19
                                                                            Attorneys for Defendants Sutter Health,
               20                                                           Sutter Bay Medical Foundation, and Palo
                                                                            Alto Medical Foundation
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ATTORNEYS AT LAW
                                                                                        DEFENDANTS’ RULE 7.1 DISCLOSURE STATEMENT
                                                                        2                              Case No. 18-CV-02067-LHK
